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                                 STATES BANKRUPTCY
                         FOR THE DISTRICT OF MASSACHUSETTS
                                  WESTERN DIVISION

                                                        )
In re                                                   )       Chapter 7
                                                        )       Case No. 17-30828-EDK
BRIAN T. DESROSIERS                                     )
                                                        )
                                         Debtor         )
                                                        )


  ORDER ON MOTION FOR ORDER AUTHORIZING AND APPROVING PRIVATE
                 SALE OF PROPERTY OF THE ESTATE
               (45 Greenleaf Street, Chicopee, Massachusetts)

        This matter having come before the Court upon the Motion of Gary M. Weiner, Chapter
7 Trustee seeking an order authorizing and approving private sale of property of the estate
pursuant to 11 U.S.C. § 363, Fed.R.Bankr.P.2002(a)(2) and 6004 and MLBR Rule 2002-5 and
6004-                                                                 5 Greenleaf Street, Chicopee,
Hampden County,
                                                                                      Phong Thai
Ly and Karina Linares                s      their nominee, for the sum of $116,500.00 plus a
                      3,500.00; and the Court finding that notice has been properly given to
parties in interest; and the Court finding that the sale, on the terms in the Motion is appropriate;
and the Court finding that the buyer is a good faith purchaser as that term is used in 11 U.S.C.
§363, and entitled to protections provided in such section and further that the sale has been made
as an arms-length transaction.


        The Court finds that the Motion constitutes a core proceeding, pursuant to 28 U.S.C.
§157(b)(2)(N), and that it has jurisdiction over this matter pursuant to 28 U.S.C. §1334. The
Court further finds that the sale is authorized under 11 U.S.C. §363(b) (f) and (m) and for good
cause shown, it is hereby:


                                                  shall and hereby is allowed and the Trustee is


acquired by the Debtor, Brian T. Desrosiers on June 21, 2016 in a deed recorded in Book 21228
Page 141 in the Hampden County Registry of Deeds pursuant to 11 U.S.C. §363(b) and (f) free
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and clear of all liens and encumbrances for the sum of $116,500.00 to Phong Thai Ly and Karina
Linares or their nominee no later than sixty (days) after the entry of this Order ; and it is further


        ORDERED that the Trustee shall be authorized to accept a carve-out of $4,000.00 from
the proceeds of the sale of the property pursuant to 11 U.S.C. §506(c) plus accept an additional
$3,500.00 from the Buyer; and it is further


       ORDERED that the Trustee is authorized to make payments from the sale proceeds to
CitiMortgage, Inc., (in the minimum amount of $101,000.00) and for ordinary closing costs, real
estate taxes and the Brokers commission of 6.00% of the sale price of $116,500.00; and


       ORDERED that the Trustee is authorized to prepare, execute and deliver any and all
documents, including without limitation, deeds and settlement statements, and to perform any
and all acts necessary to conduct and close the sale of the real property referenced herein,
whether such documents are known now or become known and necessary in the future; and


       The hearing set for November 1, 2018 is canceled.




                                                       ___________________________________
                                                       Elizabeth D. Katz           Dated
                                                       United States Bankruptcy Judge
